          Case 1:21-cv-00781-LY Document 15 Filed 09/30/21 Page 1 of 1



                        iN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION                          2l2lSEp3g AN         9:   j3

GEORGE HOWARD,


V.
              PLAINTIFF,
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                                                         CAUSE NO.
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AMERIFIRST FINANCIAL, INC. AND                §
HELEN ROBINSON,                               §
                DEFENDANTS.                   §

                                            [I)   1 I)


       Before the court is Defendant's Motion to Dismiss Plaintiffs Original Petition and Brief in

Support filed September 10,2021,2021 (Doc. #5). Plaintiffs First Amended Complaint was filed

September 24, 2021 (Doc. #13). In light of the filing of Plaintiffs amended complaint,


       IT IS ORDERED that Defendant's Motion to Dismiss Plaintiff's Original Petition and Brief

in Support filed September 10, 2021,2021 (Doc. #5) is DISMISSED WITHOUT PREJUDICE.


       SIGNED this                _day of September, 2021.


                                                             ED STAT SDIS
